                 Case 2:17-cr-00232-JAM Document 62 Filed 03/22/18 Page 1 of 2


1    MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
2
     Sacramento, CA 95814
3    (916) 201-4188
     Mike.Long.Law@msn.com
4
     Attorney for MAY LEVY
5

6                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     THE UNITED STATES OF AMERICA,                  ) No. 2:17-cr-00232 GEB-3
8
                     Plaintiff,                     )
9
                                                    ) STIPULATION AND
            v.                                      ) ORDER ADDING THE CDCA TO
10                                                  ) DISTRICTS APPROVED FOR TRAVEL
                                                    )
11   MAY LEVY,                                      ) Date:
12
                                                    ) Time:
                     Defendant.                     ) Judge: Hon. Magistrate Deborah Barnes
13   ================================)
14
            Mr. Levy’s special conditions of pre-trial release are found in ECF document 5. Special
15

16
     Condition 5 limits his travel to the Eastern and Northern Districts of California.

17          May Levy needs to attend a one-day manager’s conference for his company that will take

18   place in Los Angeles on April 3, 2018. Future business meetings may take place in Los Angeles
19
     as well.
20
            I have spoken with Kalisi Kupu [510-637-3757], the NDCA pre-trial services officer, and
21
     Tai Gaskins, the EDCA pre-trial services officer, for my client, May Levy. Ms. Kupu and Ms.
22

23   Gaskins both informed me that they will approve the business trip, but that Mr. Levy needs to

24   have his special conditions of pre-trial release amended to include the Central District of
25
     California.
26

27

28




                                                      -1-
               Case 2:17-cr-00232-JAM Document 62 Filed 03/22/18 Page 2 of 2


1           I spoke with AUSA Matt Yelovich and he informed me that he has no opposition to
2
     permanently adding the CDCA to Mr. Levy’s pre-approved districts for travel. Ms. Kupu and
3
     Ms. Gaskins also approve adding the CDCA to Mr. Levy’s pre-approved districts for travel.
4

5

6           Special Condition Number 5 presently limits Mr. Levy’s travel to the Eastern and
7    Northern Districts of California.
8           Accordingly, the parties hereby stipulate that the Court amend condition #5 to read “Your
9    travel is restricted to the Eastern, Northern and Central Districts of California, unless otherwise
10   approved in advance by the pretrial services officer.”
11
     Dated: March 21, 2018                                 Respectfully submitted,
12
                                                           /s/ Michael D. Long
13                                                         MICHAEL D. LONG
                                                           Attorney for May Levy
14

15
     Dated: March 21, 2018                                 McGREGOR SCOTT
16                                                         United States Attorney
17
                                                           /s/ Matt Yelovich
18                                                         MATT YELOVICH
                                                           Assistant U.S. Attorney
19

20
                                                   ORDER

21          GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.

22          The Court hereby orders that Mr. Levy’s Special Condition of Release #5 will now read
23   “Your travel is restricted to the Eastern, Northern and Central Districts of California, unless

24   otherwise approved in advance by the pretrial services officer.”

25
     Dated: March 21, 2018
26

27

28




                                                     -2-
